Case 1:19-bk-10189         Doc 54 Filed 06/25/19 Entered 06/25/19 15:03:45                         Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF RHODE ISLAND


In re: Steven W. DePasquale,                                                 BK No: 19-10189

               Debtor                                                        Chapter 7


 ORDER TO SHOW CAUSE WHY LOSS MITIGATION SHOULD NOT TERMINATE
   FOR DEBTOR’S FAILURE TO PROVIDE ALL REQUESTED DOCUMENTS
                     (this relates to Doc. ## 23, 42)

       On June 18, 2019, the Court entered an order (“Order,” Doc. #42), which required the
Debtor to provide to Caliber Home Loans, Inc. (the “Creditor”) all requested documents by June
24, 2019. The Debtor failed to comply with that order. Accordingly, the Debtor is hereby
ORDERED TO SHOW CAUSE IN WRITING by JULY 12, 2019, why loss mitigation should
not terminate for failure to comply with this Court’s Order. If the Debtor provides the Creditor
with all outstanding documents by July 12, 2019, the Court will release the show cause order, and
the Court will proceed with a status hearing on loss mitigation on July 17, 2019.

Dated: June 25, 2019                                                By the Court,



                                                                    __________________________
                                                                    Diane Finkle
                                                                    U.S. Bankruptcy Judge




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